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   B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                             _______________ District Of _______________
                                                         New Jersey (Trenton)

         Jacob S Pintye
   In re ______________________________,                                     17-19331-KCF
                                                                    Case No. ________________



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.

   Wilmington Savings Fund Society, FSB, Acting not                             Bayview Loan Servicing, LLC
   in its individual capacity, but solely as trustee of
   Southside NSP Trust 2017-1
   ______________________________________                                      ____________________________________
              Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                 Court Claim # (if known): 3
   should be sent:                                                              Amount of Claim: 245,805.09
   c/o BSI Financial Services                                                   Date Claim Filed: 08/18/2017
   1425 Greenway Drive, Ste 400
   Irving, TX 75038
          972-347-4350
   Phone: ______________________________                                               855-813-6597
                                                                               Phone: __________________________
                               3582
   Last Four Digits of Acct #: ______________                                                               3582
                                                                               Last Four Digits of Acct. #: __________

   Name and Address where transferee payments
   should be sent (if different from above):
   c/o BSI Financial Services
   PO Box 679002
   Dallas, TX 75267-9002
            888-738-5873
   Phone: _______________________________
                               3582
   Last Four Digits of Acct #: _______________



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

      /s/ Michelle R. Ghidotti-Gonsalves
   By:__________________________________                                             1/15/2018
                                                                                Date:____________________________
           Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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   B2100B (Form 2100B) (12/15)

                       United States Bankruptcy Court
                       _______________ District Of _______________
                                                   New Jersey (Trenton)


         Jacob S Pintye
   In re ______________________________,                    17-19331-KCF
                                                   Case No. ________________




        NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
               3
   Claim No. _____    (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
   alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
   Other than for Security in the clerk’s office of this court on ______
                                                                  1/15/2018
                                                                            (date).



   Name of Alleged Transferor                                          Name of Transferee
   Bayview Loan Servicing, LLC                                         Wilmington Savings Fund Society, FSB,
                                                                       Acting not in its individual capacity, but solely
                                                                       as trustee of Southside NSP Trust 2017-1
   Address of Alleged Transferor:                                      Address of Transferee:
   4425 Ponce de Leon Blvd.. 5th Floor                                  c/o BSI Financial Services
   Coral Gables, FL 33146                                               1425 Greenway Drive, Ste 400
                                                                        Irving, TX 75038

                                 ~~DEADLINE TO OBJECT TO TRANSFER~~
   The alleged transferor of the claim is hereby notified that objections must be filed with the court
   within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
   court, the transferee will be substituted as the original claimant without further order of the court.




   Date:_________                                                ______________________________
                                                                   CLERK OF THE COURT
